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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION
    In re:                                                  §
                                                            §              Chapter 7
    ALEXANDER E. JONES,                                     §
                                                            §              Case No. 22-33553 (CML)
                        Debtor.                             §
                                                            §

      SIXTH MONTHLY FEE STATEMENT OF PORTER HEDGES LLP, AS BANKRUPTCY
    COUNSEL FOR CHAPTER 7 TRUSTEE, CHRISTOPHER R. MURRAY, FOR ALLOWANCE
    OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                 NOVEMBER 1, 2024 THROUGH NOVEMBER 30, 2024

    Name of Applicant:                                                Porter Hedges LLP, as Bankruptcy Counsel
                                                                      for the Chapter 7 Trustee, Christopher R.
                                                                      Murray

    Date of Retention Order:                                          July 30, 2024 (Doc. No. 792)1

    Period for which Fees and Expenses are                            November 1, 2024 through and including
    Incurred:                                                         November 30, 2024

    Interim Fees Incurred:                                            $280,799.00

    Interim Payment of Fees Requested (80%):                          $224,639.20

    Interim Expenses Incurred:                                        $12,054.57

    Total Fees and Expenses Due:                                      $236,693.77

This is the Sixth Monthly Fee Statement.




1
    The Trustee’s application to employ Porter Hedges was filed at Docket No. 756.


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       Porter Hedges LLP (“Porter Hedges”), as Bankruptcy Counsel for the Chapter 7 Trustee,

Christopher R. Murray (the “Trustee”), submits this Sixth Monthly Fee Statement (the “Fee

Statement”) for the period from November 1, 2024 through November 30, 2024 (the “Application

Period”) in accordance with the proposed Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals and Trustee [Docket No. 793]

(the “Interim Compensation Order”).

       Porter Hedges requests compensation for professional services rendered in the amount of

$280,799.00 (the “Fees”), and for reimbursement of out-of-pocket expenses incurred in the amount

of $12,054.57 (the “Expenses”), for the period from November 1, 2024 through November 30,

2024. Eighty percent (80%) of the fees equals $224,639.20 and one hundred percent (100%) of

the Expenses equals $12,054.57 for a total requested amount of $236,693.77.

       Summaries of the calculations for these fees by project category and expenses are attached

hereto as Exhibit 1 and Exhibit 2, respectively. A summary of the time expended by Porter

Hedges attorneys and support staff, together with their respective hourly rates, is attached hereto

as Exhibit 3. Porter Hedges’ invoice for the Application Period is attached hereto as Exhibit 4.

       WHEREFORE, Porter Hedges respectfully requests payment and reimbursement in

accordance with the procedures set forth in the proposed Interim Compensation Order (i.e.,

payment of eighty percent (80%) of the compensation sought, in the amount of $224,639.20 and

reimbursement of one hundred percent (100%) of expenses incurred in the amount of $12,054.57

in the total amount of $236,693.77.




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Dated: December 11, 2024
       Houston, Texas                               Respectfully Submitted,

                                                    By: /s/ Joshua W. Wolfshohl
                                                    PORTER HEDGES LLP
                                                    Joshua W. Wolfshohl (TX Bar No. 24038592)
                                                    1000 Main St., 36th Floor
                                                    Houston, Texas 77002
                                                    Telephone: (713) 226-6000
                                                    Facsimile: (713) 226-6248
                                                    jwolfshohl@porterhedges.com
                                                    Counsel for the Chapter 7 Trustee,
                                                    Christopher R. Murray

                                CERTIFICATE OF SERVICE

        This will certify that a true and correct copy of the foregoing document was forwarded by
electronic transmission to all registered ECF users appearing in the case on December 11, 2024.

                                                    /s/ Joshua W. Wolfshohl
                                                     Joshua W. Wolfshohl




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                                     EXHIBIT 1

                   SUMMARY OF TIME EXPENDED BY PROJECT CATEGORY

                  Project Category               Total       Total Fees
                                                 Hours       Requested
   Asset Analysis/Recovery                        177.70           129,522.00
   Business Operations                              6.80             4,330.00
   Case Administration                              9.90             4,334.50
   Employment/Fee Application                       4.10             2,540.50
   Litigation/Contested Matters                   201.70           140,072.00


   TOTAL                                          400.20           280,799.00




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                                        EXHIBIT 2

                          SUMMARY OF OUT-OF-POCKET EXPENSES

                             Expenses                             Cost

  Computer Assisted Legal Research                                        4,283.24
  Computer Services                                                       3,275.17
  Delivery Service                                                          24.00
  Deposition Expense                                                       435.00
  Reproduction                                                             543.45
  Reproduction Services                                                   3,493.71


  TOTAL                                                                  12,054.57




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                                    EXHIBIT 3

              SUMMARY OF TIME EXPENDED BY ATTORNEYS AND SUPPORT STAFF

                   Professional              Hourly Rate        Total Hours
  Derek V. Forinash                                  $950.00                    .50
  Joshua W. Wolfshohl                                $945.00               106.00
  Sarah J. Ring                                      $925.00                   5.00
  Adam K. Nalley                                     $900.00                   6.00
  Christine M. McMillan                              $785.00                   2.10
  Matthew R. Baughman                                $750.00                   1.80
  William R. Stukenberg                              $725.00                  11.80
  Elliott J. Deese                                   $720.00                   7.10
  Michael B. Dearman                                 $625.00               119.70
  Jordan T. Stevens                                  $595.00                  70.20
  Kenesha L. Starling                                $575.00                  43.60
  Daisy Puente                                       $565.00                   2.60
  Grecia V. Sarda                                    $500.00                    .10
  Carey A. Sakert                                    $470.00                   3.00
  Mitzie L. Webb                                     $465.00                   2.20
  Michelle N. Wolff                                  $440.00                  10.50
  Eliana Garfias                                     $405.00                   8.00


  TOTAL                                                                    400.20




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                                          PORTER HEDGES LLP
                                         A REGISTERED LIMITED LIABILITY PARTNERSHIP


                                                        DEPT. 510
                                                      P.O. BOX 4346
                                                 HOUSTON, TEXAS 77210-4346



                                                  TELEPHONE (713) 226-6000
                                                  TELECOPIER (713) 228-1331



ATTN: CHRIS MURRAY                                                                   Invoice Date:     December 05, 2024
                                                                                    Invoice Num.:                570995
                                                                                  Matter Number:            018577-0001
                                                                                 Billing Attorney:   Joshua W. Wolfshohl
                                                                                          Tax ID:           #XX-XXXXXXX
Matter:             Alex Jones

For professional services rendered and costs incurred through November 30, 2024


    Professional Services                                                                                     280,799.00

    Disbursements                                                                                              12,054.57

    Total Amount Due                                                                                         $292,853.57




                                                                                                         EXHIBIT 4
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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                  Invoice Date:           December 05, 2024
Matter: Alex Jones                                                      Invoice Num.:                      570995
                                                                       Matter Number:                 018577-0001



Time Detail

Date           Initials   Description                                                    Hours           Amount
11/01/2024     MBD        Conference with potential bidder regarding asset                1.00             625.00
                          information (.3); conference with C. Murray regarding
                          same (.2); conference with J. Tanenbaum regarding
                          auction (.5).

11/01/2024     DP         Research and summarize                                          2.60           1,469.00
                                                                   .

11/02/2024     MBD        Revise proposed Jones IP Assets order and correspond            0.60             375.00
                          with C. Murray, E. Jones, and J. Wolfshohl regarding
                          same (.2); correspond with A. Nalley regarding transfers
                          and liens (.2); update transaction chart (.2).

11/02/2024     JWW        Emails regarding IP issues, hearing setting and sale            0.30             283.50
                          process.

11/02/2024     AKN        Confer with M. Baughman and M. Dearman regarding                0.30             270.00

                                         .

11/02/2024     MRB        Receive and reply to email from M. Dearman regarding            0.50             375.00

                                     .

11/03/2024     WRS        Revise retention agreements.                                    1.80           1,305.00

11/04/2024     AKN        Confer with M. Baughman regarding                               0.80             720.00



                                                         .

11/04/2024     JWW        Emails regarding sale issues and status of IP analysis          2.20           2,079.00
                          (.4); review fee statement and revise same (.6);
                          conference call with TX and CT plaintiffs regarding
                          potential settlement (.5); follow-up call with E. Jones
                          regarding same (.5); further emails regarding same (.2).
11/04/2024     MBD        Analyze document production regarding                           5.00           3,125.00
                                                   (2.0); correspond with E. Jones
                          regarding Jones IP Assets issues (.1); conference and
                          correspond with K. Starling regarding potential claims


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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                    Invoice Date:           December 05, 2024
Matter: Alex Jones                                                        Invoice Num.:                      570995
                                                                         Matter Number:                 018577-0001



Date          Initials   Description                                                       Hours           Amount
                         (.5); draft memorandum on potential causes of action
                         (1.0); attend to correspondence with J. Wolfshohl
                         regarding first interim PH fee application (.2); review
                         invoices for redaction (.5); correspond with W. Cicack
                         regarding form APA (.2); review K. Starling analysis of
                         potential claims (.5).

11/04/2024    CMM        Prepare summary of                                                 2.10           1,648.50

                                                   .

11/04/2024    MLW        Email exchanges with K. Starling regarding Court's                 0.30             139.50
                         request for Status Conference (.1); confer with Case
                         Manager regarding same (.1); update J. Wolfshohl and
                         K. Starling regarding same (.1).

11/04/2024    KLS        Conduct research regarding                                         4.00           2,300.00

                         (2.1); Teams call with W. Stukenberg regarding
                         employee and contractor agreements (.9); finalize initial
                         drafts of employee agreement and contractor agreements
                         for Trustee review (1.0).

11/04/2024    WRS        Revise retention agreements for different classes of               1.00             725.00
                         workers.

11/05/2024    MBD        Attend to correspondence regarding appeal of                       0.50             312.50
                         supplemental dismissal order (.1); correspond with K.
                         Starling regarding statute of limitations (.1); review fifth
                         monthly fee statement and invoice and correspond with
                         Y. McCullar regarding same (.2); continue draft first
                         interim PH fee application (.1).

11/05/2024    JWW        Emails and phone conference regarding designation of               1.50           1,417.50
                         items for record on appeal (.3); conference with C.
                         Murray and E. Jones regarding sale and settlement
                         strategy (.7); further emails and conference with M.
                         Dearman regarding sale issues (.3); work on fee
                         statement (.2).

11/05/2024    KLS        Conduct research regarding                                         1.40             805.00
                                                                            .

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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                               Invoice Date:           December 05, 2024
Matter: Alex Jones                                                   Invoice Num.:                      570995
                                                                    Matter Number:                 018577-0001



Date         Initials   Description                                                   Hours           Amount
11/06/2024   JWW        Conference with M. Dearman regarding sale issues (.4);         1.10           1,039.50
                        review settlement correspondence and emails regarding
                        same (.3); conference with K. Starling regarding same
                        and next steps with appeal (.2); emails regarding open
                        issues in case (.2).

11/06/2024   AKN        Attend to matters related to                                   0.50             450.00
                                                                            (.4);
                        confer with M. Baughman regarding the same (.1).

11/06/2024   MBD        Conference with J. Wolfshohl regarding case strategy           4.00           2,500.00
                        (.6); correspond with M. Baughman and A. Nalley
                        regarding potential claims (.1); continue draft first
                        interim PH fee application (2.3); conference with
                        potential bidder, J. Tanenbaum, and K. Toney regarding
                        auction (.5); conference with J. Tanenbaum and K.
                        Toney regarding auction planning (.2); multiple
                        correspondence with J. Wolfshohl regarding asset
                        dispositions (.3).

11/07/2024   AKN        Confer with M. Baughman regarding                              0.40             360.00
                                          .

11/07/2024   JWW        Weekly call with trustee team regarding sale process and       1.70           1,606.50
                        open issues in case (.6); several emails and follow-up
                        calls regarding meeting with S. Lemmon and issues
                        between TX and CT plaintiffs (1.1).

11/07/2024   MBD        Continue drafting first interim PH fee application and         6.20           3,875.00
                        exhibits (3.0); correspond with E. Jones and J. Chiba
                        regarding same (.1); conference with Trustee team and
                        PH team regarding case status and strategy (.8);
                        correspond with J. Tanenbaum and C. Murray regarding
                        AP news story (.1); legal analysis of            (2.0);
                        attend to correspondence regarding submitted bids (.2).

11/07/2024   KLS        Attend weekly status call with Trustee via Teams.              0.90             517.50

11/07/2024   MRB        Review issues relating to                                      1.30             975.00



                                and reply to email from M. Dearman regarding

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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                 Invoice Date:           December 05, 2024
Matter: Alex Jones                                                     Invoice Num.:                      570995
                                                                      Matter Number:                 018577-0001



Date         Initials   Description                                                     Hours           Amount
                        same (.2).

11/08/2024   JWW        Phone conference with C. Murray and E. Jones                     4.40           4,158.00
                        regarding PQPR issues and status of bids (.7); emails
                        and phone conferences with S. Lemmon regarding
                        meeting to discuss settlement (.4); further calls with
                        Trustee team regarding same (.3); conference with J.
                        Martin regarding status of TX/CT issues (.4); meet with
                        S. Lemmon at Jones Murray regarding settlement (1.2);
                        review emails regarding bid submissions (.3);
                        conference with Trustee team regarding same (1.1).

11/08/2024   MBD        Conference with K. Bates regarding fee application (.2);         3.60           2,250.00
                        continue revising first interim PH fee application (.6);
                        correspond with J. Wolfshohl regarding same (.1);
                        review and analyze submitted bids (1.5); correspond
                        with Trustee Team, J. Wolfshohl, and Tranzon360
                        regarding same (.2); conference with Tranzon360 team,
                        C. Murray, E. Jones, and J. Wolfshohl regarding bids
                        (.8); conference with C. Murray, E. Jones, and J.
                        Wolfshohl regarding same and case strategy (.2).

11/08/2024   AKN        Review revised draft of APA from First United                    0.30             270.00
                        American Companies LLC.

11/09/2024   MBD        Conference with C. Murray regarding submitted bids               2.00           1,250.00
                        (.5); confer with Tranzon360 regarding bids (.1);
                        conference with C. Murray, E. Jones, J. Wolfshohl, and
                        J. Tanenbaum regarding same (1.4).

11/09/2024   JWW        Review analysis of bids and confer with Trustee team             2.00           1,890.00
                        and Tranzon regarding same (.6); conference call
                        regarding analysis and strategy for auction (1.4).

11/10/2024   MBD        Correspond with C. Murray regarding auction questions            0.30             187.50
                        (.1); review and analyze potential bid recoveries (.2).

11/10/2024   JWW        Follow-up regarding auction and review further analysis          0.50             472.50
                        and draft notice to participants.

11/11/2024   JWW        Review further analysis regarding bids and prepare for           3.40           3,213.00
                        call with Trustee team (.8); conference call regarding bid


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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                Invoice Date:           December 05, 2024
Matter: Alex Jones                                                    Invoice Num.:                      570995
                                                                     Matter Number:                 018577-0001



Date         Initials   Description                                                    Hours           Amount
                        analysis and auction (1.0); further call with E. Jones
                        regarding same and PQPR settlement issues (.3);
                        conference with counsel for PQPR regarding same (.2);
                        further call with E. Jones (.2); review bid sheet for
                        submission to qualified bidders and conference with
                        Trustee team regarding same (.6); further review of
                        overbid sheet and comments to same (.3).
11/11/2024   MBD        Conference with J. Wolfshohl regarding sealed bid               5.50           3,437.50
                        auction (.3); analyze bids and distributions (1.7);
                        conference with C. Murray, E. Jones, J. Tanenbaum, K.
                        Toney, and J. Wolfshohl regarding sealed bid auction
                        (1.0); correspond with C. Murray regarding fees (.1);
                        analyze FSS issues (.3); conference with E. Jones
                        regarding auction and discuss case strategy (.3); review
                        and discuss on overbid form (.5); conference with
                        Trustee Team, Tranzon Team, and J. Wolfshohl
                        regarding same (1.0); conference with K. Starling
                        regarding investigation (.2).

11/12/2024   JWW        Conference with C. Murray regarding TX/CT settlement            0.60             567.00
                        (.2); emails and conference with M. Dearman regarding
                        auction issues (.3); follow-up emails with E. Jones
                        regarding same (.1).

11/12/2024   MBD        Multiple conferences with J. Tanenbaum, K. Toney, and           2.80           1,750.00
                        C. Murray regarding sealed bid auction (.8); conference
                        with J. Wolfshohl regarding sealed bid auction (.1);
                        conference with E. Jones regarding settlement
                        discussions (.9); conference with C. Murray, J.
                        Tanenbaum, and E. Jones regarding sealed bid auction
                        (.8); draft response to C. Murray and J. Tanenbaum
                        regarding sealed bid auction (.2).

11/12/2024   KLS        Review and analyze PQPR issues.                                 2.40           1,380.00

11/13/2024   JWW        Review final bids and analysis of bids from Tranzon             2.80           2,646.00
                        (.5); conference with Trustee team and Tranzon
                        regarding same (.4); further phone conferences with M.
                        Dearman and Trustee regarding same (.7); further
                        review bid selection information and notice of

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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                Invoice Date:           December 05, 2024
Matter: Alex Jones                                                    Invoice Num.:                      570995
                                                                     Matter Number:                 018577-0001



Date         Initials   Description                                                    Hours           Amount
                        successful bid (.5); conference with M. Dearman
                        regarding same (.5); follow-up emails regarding same
                        (.2).

11/13/2024   AKN        Confer with M. Dearman regarding winning bid and                1.50           1,350.00
                        matters related to APA and closing and review
                        comments on draft of APA.
11/13/2024   MBD        Review and analyze bids (1.4); numerous                         7.90           4,937.50
                        correspondence and conferences with Trustee
                        professionals regarding auction and bids (3.0);
                        conference with J. Wolfshohl regarding case strategy
                        (.5); correspond with K. Starling regarding claims
                        analysis (.3); review, redline and revise APA (1.5);
                        conference with A. Nalley regarding APA (.2); prepare
                        first PH fee application for filing (1.0).

11/13/2024   EG         Correspondence on anticipated filing of fee application         0.10              40.50
                        and notice of successful bidder.

11/14/2024   JWW        Emails and phone conferences regarding sale documents           5.40           5,103.00
                        and preparation of motion and sale order (.8);
                        conferences with Trustee regarding status conference
                        and issues raised by W. Cicack (.6); prepare for status
                        conference (1.0); attend status conference and further
                        meeting with Trustee and counsel for PQPR regarding
                        potential lien resolution (2.6); conference with K.
                        Kimpler regarding APA for sale and issues related to
                        closing and sale hearing (.4).

11/14/2024   AKN        Review revised draft of asset purchase agreement and            1.00             900.00
                        related correspondence.

11/14/2024   MBD        Work on notice of successful bidder and backup bidder           8.30           5,187.50
                        (.2); correspond with E. Garfias regarding filing (.1);
                        correspond with C. Murray and Trustee professionals
                        regarding notice (.1); revise APA (1.0); clean up
                        schedules of assets (.5); conference and correspond with
                        P. Brillson regarding APA (.3); numerous conferences
                        and correspondence with Trustee team (1.0); conference
                        with E. Jones and J. Wolfshohl regarding status


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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                  Invoice Date:           December 05, 2024
Matter: Alex Jones                                                      Invoice Num.:                      570995
                                                                       Matter Number:                 018577-0001



Date         Initials   Description                                                      Hours           Amount
                        conference preparations (.5); prepare documents for use
                        at status conference (1.0); attend status conference
                        regarding auction (1.0); conference with K. Starling
                        regarding status conference and employees (.2);
                        conference with E. Jones regarding first interim fee
                        applications (.4); confer with Global Tetrahedron and
                        Connecticut counsel regarding APA (.4); attend to
                        numerous correspondence regarding APA, auction, and
                        next steps (.5); review FSS cash distribution records and
                        correspond with J. Wolfshohl and K. Starling regarding
                        same (1.0); correspond with E. Garfias regarding first
                        interim PH fee application (.1).

11/14/2024   KLS        Attend emergency status conference regarding auction              0.90             517.50
                        for the sale of Free Speech Systems, LLC's assets.

11/14/2024   EG         Follow up emails on notice of successful bidder (.1);             1.00             405.00
                        receive, review, and electronically file same with court
                        (.2); monitor emails for status of first interim fee
                        application (.3); receive, review, and electronically file
                        same with court (.2); download and circulate filed
                        version (.1); coordinate service of same (.1).

11/15/2024   MBD        Conference with C. Murray, E. Jones, and J. Wolfshohl            10.10           6,312.50
                        regarding case strategy (.6); numerous correspondence
                        with P. Brillson regarding APA (.2); conference with P.
                        Brillson regarding same (.2); draft sale motion (4.5);
                        analyze case law governing sale (.5); review draft sale
                        order (.2); numerous correspondence and conferences
                        with J. Wolfshohl regarding sale issues (.5); continue
                        revising APA (2.5); conference with counsel for
                        Connecticut Families and Global Tetrahedron and J.
                        Wolfshohl regarding APA and sale motion and order
                        (.5); review agreed order and provide comments to J.
                        Wolfshohl (.2); conference with K. Starling regarding
                        sale motion and review draft section (.2).

11/15/2024   JWW        Phone conference with C. Murray regarding next steps              6.00           5,670.00
                        with sale (.7); conference with M. Dearman regarding
                        same (.7); conference with W. Cicack regarding


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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                 Invoice Date:           December 05, 2024
Matter: Alex Jones                                                     Invoice Num.:                      570995
                                                                      Matter Number:                 018577-0001



Date         Initials   Description                                                     Hours           Amount
                        depositions (.4); conference with J. Tanenbaum
                        regarding sale issues (.4); further conferences with C.
                        Murray regarding same (.4); work on issues related to
                        APA and sale motion and order (.8); conference with E.
                        Jones regarding same (.7); conference with buyer
                        regarding sale documents and next steps (.5); conference
                        with buyer's counsel regarding open issues (.1); further
                        conferences with C. Murray and E. Jones regarding
                        same (.7); conference with J. Tanenbaum regarding sale
                        motion and deposition (.4); follow-up with E. Jones
                        regarding same (.2).

11/15/2024   KLS        Revise sale motion to include case law.                          4.70           2,702.50

11/16/2024   JWW        Work on sale motion (1.5); phone conferences with                2.70           2,551.50
                        Trustee team regarding same (1.2).

11/16/2024   MBD        Continue drafting sale motion (.5); multiple conferences         6.50           4,062.50
                        with J. Wolfshohl regarding same (.4); correspond with
                        Trustee team regarding APA and sale order (.3); review
                        and revise sale order (1.5); review and revise APA (1.5);
                        correspond and conference with C. Murray regarding
                        APA and sale order (.2); conference with A. Matott and
                        J. Ashmead regarding APA (.4); review and incorporate
                        revisions to sale motion (1.5); review revisions to APA
                        and correspond with Trustee team regarding same (.2).

11/17/2024   JWW        Review sale motion and prepare for call with Trustee             5.50           5,197.50
                        (.4); conference with Trustee and Tranzon regarding
                        next steps (1.5); follow-up with E. Jones regarding filing
                        of sale motion (.3); review and revise sale motion, APA
                        and exhibits (2.5); conferences with E. Jones regarding
                        same and filing of motion (.5); emails and phone
                        conference with buyer's counsel regarding APA (.3).

11/17/2024   MBD        Correspond with K. Starling regarding case law research          2.00           1,250.00
                        and review findings (.2); attend to correspondence with
                        Trustee team regarding APA and sale motion (.5); revise
                        APA schedules (.1); review revise sale motion (.8);
                        prepare exhibits to sale motion (.4).


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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                 Invoice Date:           December 05, 2024
Matter: Alex Jones                                                     Invoice Num.:                      570995
                                                                      Matter Number:                 018577-0001



Date         Initials   Description                                                     Hours           Amount
11/17/2024   KLS        Conduct further research regarding bankruptcy                    3.20           1,840.00
                        auction/sale process.

11/18/2024   JWW        Meet with M. Dearman regarding sale motion and                   6.10           5,764.50
                        various exhibits (.4); review back-up bidder motion to
                        disqualify (.3); further calls with M. Dearman regarding
                        same (.4); work on motion (.8); conference call with
                        Trustee team regarding same (.5); prepare for potential
                        sale hearing and meet with team regarding same (2.8);
                        review complaint filed by A. Jones (.5); conference with
                        E. Jones regarding same (.4).

11/18/2024   GVS        Confer with M. Dearman, K. Starling, and J. Stevens              0.10              50.00
                        regarding Jones' complaint and TRO.

11/18/2024   MBD        Multiple conferences with J. Wolfshohl regarding sale            5.80           3,625.00
                        issues (.5); ongoing revisions of sale motion, APA, and
                        sale order and conferences and correspondence
                        regarding same (.8); conference with J. Ashmead and A.
                        Mattot regarding APA (.3); attend to correspondence
                        regarding sale (1.0); review and analyze motion to
                        disqualify (.8); multiple correspondence with E. Garfias
                        regarding filing (.2); confer with J. Tanenbaum and K.
                        Toney regarding sale motion (.2); review and revise
                        settlement proposal (1.0); correspond with C. Murray, E.
                        Jones, and J. Wolfshohl regarding same (.3); conference
                        and correspond with J. Wolfshohl regarding settlement
                        proposal (.7).

11/18/2024   EG         Correspondence on filing logistics of sale motion (.2);          1.30             526.50
                        monitor emails for status of same (.8); call with M.
                        Dearman on submission of same (.1); receive, review,
                        and electronically file same with court (.1); download
                        and circulate filed version (.1).

11/19/2024   MBD        Conference with J. Wolfshohl regarding adversary                 5.10           3,187.50
                        proceeding (.2); conference with J. Stevens regarding
                        case status and litigation issues (.8); analyze Winddown
                        Order and correspond with PH team regarding same (.7);
                        attend to numerous correspondence regarding sale issues


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PORTER HEDGES LLP
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Matter: Alex Jones                                                    Invoice Num.:                      570995
                                                                     Matter Number:                 018577-0001



Date         Initials   Description                                                    Hours           Amount
                        (.2); conference with PH team and Trustee team
                        regarding case strategy and tasks (1.5); conference with
                        A. Nalley regarding corporate issues (.4); review and
                        revise corporate documents (.8); draft response to
                        motion to disqualify (.5).

11/19/2024   JWW        Work on PQPR settlement and emails with S. Lemmon               6.80           6,426.00
                        and R. Mates regarding same (.6); conference with
                        Tranzon regarding sale (.6); conference with E. Jones
                        regarding same (.2); conference with K. Kimpler
                        regarding complaint filed by Jones (.4); further
                        conference with J. Tanenbaum regarding same (.4); meet
                        with C. Murray and E. Jones in preparation for
                        deposition (3.5); conference with K. Kimpler and other
                        parties regarding cancellation of deposition and
                        upcoming hearings (1.1).

11/19/2024   AKN        Confer with M. Dearman regarding bid process and                1.20           1,080.00
                        certain corporate governance and entity matters related
                        to case (.3); review and revise
                                                                 revised draft of
                        same to M. Dearman (.1).

11/19/2024   MLW        Email exchanges with K. Sterling regarding scheduling           0.30             139.50
                        videographer for deposition (.2); coordinate scheduling
                        of same (.1).

11/19/2024   KLS        Call with Trustee regarding hearings, status conferences,       1.70             977.50
                        and deposition.

11/19/2024   JTS        Prepare for and attend an extended strategy session with        8.40           4,998.00
                        J. Wolfshohl, the Trustee, and E. Jones regarding the
                        Sale Motion, the Motion to Disqualify, and the
                        Emergency Application (1.7); review and analyze the
                        Motion to Disqualify (.9); review and analyze the
                        Emergency Application (1.2); conduct legal research
                        and analysis regarding the Emergency Application (2.4);
                        begin outlining and drafting an Objection to the
                        Emergency Application (2.2).

11/19/2024   EG         Correspondence on logistics of upcoming deposition.             0.20              81.00


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PORTER HEDGES LLP
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Matter: Alex Jones                                                      Invoice Num.:                      570995
                                                                       Matter Number:                 018577-0001



Date         Initials   Description                                                      Hours           Amount
11/20/2024   SJR        Correspondence regarding IP argument (.3); Research               1.80           1,665.00
                        law regarding the same (1.5).

11/20/2024   MNW        Begin research regarding                                          6.10           2,684.00


11/20/2024   JWW        Conference with Trustee team regarding hearing                    5.40           5,103.00
                        preparation (.5); conference with CT parties' counsel
                        regarding same (.8) work on responses to various
                        pleadings and hearing preparation (2.3); conference with
                        counsel for purchaser regarding hearings (.5); further
                        conference with PH team regarding TRO and hearing
                        preparation (1.0); review pleading from A. Jones (.3).

11/20/2024   MBD        Attend to numerous correspondence with PH team                    6.90           4,312.50
                        regarding TRO hearing and strategy (.7); correspond and
                        conference with M. Webb regarding notice of hearing
                        (.3); attend call with Connecticut Families' counsel
                        regarding TRO hearing (.4); analyze case law regarding
                        TRO and response issues (2.0); conference with counsel
                        for GT regarding case strategy (.4); conference with J.
                        Wolfshohl regarding hearing preparations and strategy
                        (.4); draft response to motion to disqualify (2.0); analyze
                        Winddown Order (.7).

11/20/2024   MLW        Email exchanges with K. Starling regarding preparation            0.40             186.00
                        and service of Notice of Status Conference regarding
                        Sale Motion (.1); draft and circulate same (.3).

11/20/2024   KLS        Begin Trustee's witness and exhibit list, including               3.90           2,242.50
                        preparation of exhibits for November 25th hearing (1.5);
                        Teams call with Paul Weis regarding hearing (.9);
                        Teams call with counsel to the Onion regarding hearing
                        (.5); Teams call with J. Wolfshohl and Trustee regarding
                        hearing (1.0).

11/20/2024   JTS        Prepare for and attend a conference call with counsel to         11.40           6,783.00
                        the Connecticut Families regarding the Motion to
                        Disqualify and the Emergency Application (.8); prepare
                        for and attend a conference call with counsel to the
                        Connecticut Families and Global Tetrahedron regarding


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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                  Invoice Date:           December 05, 2024
Matter: Alex Jones                                                      Invoice Num.:                      570995
                                                                       Matter Number:                 018577-0001



Date         Initials   Description                                                      Hours           Amount
                        the Motion to Disqualify and the Emergency
                        Application (.6); prepare for and attend a strategy
                        session with members of the Porter Hedges Team, C.
                        Murray, and E. Jones regarding the the Motion to
                        Disqualify and the Emergency Application (1.0);
                        conduct legal research and analysis regarding a response
                        to the Emergency Application, and review and analyze
                        relevant docket entries pertaining to the same (4.2); draft
                        an Objection to the Emergency Application (4.8).

11/20/2024   WRS        Provide strategy regarding TRO hearing; review TRO                2.20           1,595.00
                        filings.

11/20/2024   EG         Correspondence and call on status of service along with           1.10             445.50
                        scheduled hearing (.2); receive, review, and
                        electronically file notice of hearing (.2); coordinate
                        service of sale motion along with notice of hearing (.4);
                        follow up emails on same (.1); further emails on filing
                        logistics of witness/exhibit list (.2).

11/20/2024   CAS        Email communications with Chris Murray regarding                  1.60             752.00
                        data collection and provide C. Murray with FTP upload
                        link to transfer data to K. Starling (.3); numerous
                        communications with vendor ID regarding data
                        collection from C. Murray and provide ID with search
                        parameters (1.3).

11/21/2024   MNW        Continue research regarding                   (2.8);              3.10           1,364.00
                        confer with E. Deese and S. Ring regarding same (.3).

11/21/2024   JWW        Conference with counsel for buyer regarding upcoming              7.60           7,182.00
                        hearings (.8); work on response to TRO (3.0); emails
                        and phone conferences with PH team regarding same
                        and hearing preparation (1.0); further review and revise
                        response to TRO (.5); conference with E. Jones
                        regarding hearing preparation and other matters in case
                        (.9); emails with PH team regarding response (.3); work
                        on response to TRO (.5); review exhibits filed by A.
                        Jones and emails with PH team regarding same (.6).

11/21/2024   MBD        Conference with PW and GT counsel (.5); review case              10.90           6,812.50


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Date         Initials   Description                                                      Hours           Amount
                        law governing IP issues and schedules (2.0); multiple
                        conference with PH team regarding upcoming hearings
                        and responses (1.0); review and revise response to TRO
                        (3.3); continue draft response to motion to disqualify
                        (1.5); continue analyzing case law governing litigation
                        issues (1.3); conference with J. Stevens regarding
                        opposition to TRO and response to motion to disqualify
                        (1.0); correspond with M. Webb and E. Garfias
                        regarding witness/exhibit list (.1); review and comment
                        on witness/exhibit list (.2).

11/21/2024   EJD        Research regarding IP rights in bankruptcy (2.0);                 2.80           2,016.00
                        Review and revise email memorandum drafted by M.
                        Wolff (.8).

11/21/2024   SJR        Confer with associates regarding research related to IP           2.20           2,035.00
                        rights (1.7); review and revision of write up of law (.5).

11/21/2024   MLW        Email exchanges regarding witness/exhibit list for                0.40             186.00
                        November 21st hearing, confer with E. Garfias
                        regarding same.

11/21/2024   KLS        Begin chart of Trustee's objections to Jones' TRO                10.10           5,807.50
                        exhibits (1.9); call with Paul Weis regarding hearing
                        (.9); complete Trustee's witness and exhibit list and
                        associated exhibits (2.1); revise Trustee's objection to
                        Jones's TRO (5.2).

11/21/2024   JTS        Prepare for and attend a conference call with counsel to         13.50           8,032.50
                        the Connecticut Families and Global Tetrahedron
                        regarding the Motion to Disqualify and the Emergency
                        Application (1.0); prepare for and attend a strategy
                        session with members of the Porter Hedges Team, C.
                        Murray, and E. Jones regarding the Motion to Disqualify
                        and the Emergency Application (.4); conduct legal
                        research and analysis regarding a response to the
                        Emergency Application, and review and analyze
                        relevant docket entries pertaining to the same (5.6); draft
                        an Objection to the Emergency Application (3.1);
                        conduct legal research and analysis regarding the
                        Motion to Disqualify and begin outlining a response

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Date         Initials   Description                                                      Hours           Amount
                        thereto (3.4).

11/21/2024   WRS        Review exhibit and witness list and revise response to            1.40           1,015.00
                        motion for TRO.

11/21/2024   EG         Correspondence on filing logistics of witness/exhibit list        1.80             729.00
                        (.2); discuss same with M. Webb (.2); continuous
                        monitoring of emails for status finalizing same and
                        timing of filing (1.0); receive, review, and electronically
                        file same with court (.3); download and circulate filed
                        version (.1).

11/22/2024   MNW        Begin research regarding                      (1.1); confer       1.30             572.00
                        with E. Deese regarding same (.2).

11/22/2024   JWW        Meet with Trustee and prepare for hearings (6.5);                 7.90           7,465.50
                        conference call with counsel for co-defendants regarding
                        TRO hearing (.6); further preparation for hearings (.8).

11/22/2024   MBD        Conference with J. Wolfshohl regarding case status and            3.40           2,125.00
                        strategy (.4); correspond with E. Deese and PH team
                        regarding intellectual property questions (.1); analyze
                        case law governing same (1.5); draft analysis of
                        intellectual property issues (.5); conference with E.
                        Deese regarding intellectual property issues (.3);
                        conference with J. Wolfshohl regarding sale issues (.2);
                        conference with J. Stevens regarding motion to
                        disqualify (.4).

11/22/2024   EJD        Continue research on the                                          4.30           3,096.00
                                                (3.0); draft email
                        memorandum regarding same (1.3).

11/22/2024   SJR        Review of research and correspondence regarding IP                1.00             925.00
                        Law issues.

11/22/2024   KLS        Complete Trustee's chart regarding objections to Jones's          3.10           1,782.50
                        November 25th hearing exhibits.

11/22/2024   JTS        Prepare for and attend a conference call with counsel to          7.60           4,522.00
                        the Connecticut Families and Global Tetrahedron
                        regarding the Motion to Disqualify and the Emergency
                        Application (.8); conduct legal research and analysis

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Matter: Alex Jones                                                     Invoice Num.:                      570995
                                                                      Matter Number:                 018577-0001



Date         Initials   Description                                                     Hours           Amount
                        regarding the Motion to Disqualify, including in light of
                        relevant docket filings (2.9); draft an Objection to the
                        Motion to Disqualify (2.3); review the Objection to the
                        Emergency Application in light of feedback thereto from
                        the Porter Hedges Team and the Trustee (1.6).

11/22/2024   WRS        Develop strategy for TRO.                                        1.00             725.00
11/23/2024   MBD        Conference with J. Wolfshohl regarding TRO hearing               3.60           2,250.00
                        and strategy (.4); conference with J. Stevens regarding
                        objection to motion to disqualify (.3); continue drafting
                        objection to motion to disqualify (2.5); review pleadings
                        from counsel to the Connecticut Families (.4).

11/23/2024   JWW        Prepare for hearings.                                            5.00           4,725.00

11/23/2024   JTS        Conduct legal research and analysis regarding the                7.50           4,462.50
                        Motion to Disqualify, including in light of relevant
                        docket filings (4.8); draft an Objection to the Motion to
                        Disqualify, including in light of feedback thereto from
                        the Porter Hedges Team (2.7).

11/23/2024   EG         Correspondence regarding filings.                                0.20              81.00

11/24/2024   JWW        Prepare for hearings (1.0); meet with C. Murray in               7.40           6,993.00
                        preparation for hearings (3.0); phone conference with
                        counsel for GT and CT regarding hearings (.4); continue
                        preparing for hearings and drafting and revising
                        pleadings (1.0); further phone conferences regarding
                        same (1.2); work on final comments to pleadings (.8).

11/24/2024   MBD        Conference with J. Stevens regarding objection to                4.20           2,625.00
                        motion to disqualify (.1); multiple correspondence with
                        J. Stevens regarding same and objection to TRO (.5);
                        review objection to motion to disqualify and correspond
                        with counsel regarding same (.3); conference with GT
                        counsel and Connecticut Families' counsel regarding
                        filings (.2); revise objection to motion to disqualify
                        (1.0); revise objection to TRO application (.8); draft
                        motion to pay undisputed claims (.2); continue draft
                        9019 motion (.3); conference with GT counsel and
                        Connecticut Families' counsel regarding filings (.5);

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Matter: Alex Jones                                                     Invoice Num.:                      570995
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Date         Initials   Description                                                     Hours           Amount
                        conference with J. Wolfshohl and J. Stevens regarding
                        multiple filings (.2); correspond with E. Garfias
                        regarding same (.1).

11/24/2024   MLW        Email exchanges with K. Starling regarding November              0.40             186.00
                        25th hearing logistics.

11/24/2024   JTS        Conduct supplemental legal research and analysis                 9.50           5,652.50
                        regarding the Motion to Disqualify (2.1); draft and
                        revise Objection to the Motion to Disqualify, including
                        in light of feedback thereto from the Porter Hedges
                        Team (1.8); draft and revise the Objection to the
                        Emergency Application, including in light of feedback
                        from the Porter Hedges Team and E. Jones (2.4); edit
                        and finalize the Objection to the Emergency Application
                        (1.7); assist in preparing for the hearing on the
                        Emergency Application, including conducting
                        supplemental research and analysis (1.5).

11/24/2024   EG         Correspondence on filing logistics of objection motion           1.30             526.50
                        to disqualify and objection to TRO (.2); continuous
                        monitoring of emails for status of finalizing same (.5);
                        receive, review, and electronically file same with court
                        (.4); download filed versions (.2).

11/25/2024   JWW        Prepare for hearing (6.0); attend hearing (2.0); meet with       9.20           8,694.00
                        Trustee team regarding sale hearing (.5); further
                        preparation for upcoming hearings (.7).

11/25/2024   MBD        Conference with J. Tanenbaum regarding case status               3.00           1,875.00
                        (.2); compile potential document production and
                        correspond with C. Sakert regarding same (.5); review
                        and analyze X Corp. limited objection and terms of
                        service (1.0); attend hearing on emergency TRO (1.0);
                        analyze arguments raised at hearing (.3).

11/25/2024   KLS        Attend status conference regarding Trustee's Sale                2.50           1,437.50
                        Motion, hearing regarding Debtor's Application for
                        Temporary Restraining Order and Plaintiffs' Motion for
                        Reconsideration.

11/25/2024   JTS        Assist in preparing for and attend the hearing on the            4.40           2,618.00

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                                                                      Matter Number:                 018577-0001



Date         Initials   Description                                                     Hours           Amount
                        Emergency Application and related proceedings.

11/25/2024   WRS        Prepare for and participate in hearing on TRO.                   3.40           2,465.00

11/25/2024   CAS        Email communications with M. Dearman regarding                   0.40             188.00
                        collection of additional email to be loaded into database
                        (.2); receive data and forward same to vendor with
                        instructions for processing and loading (.2).
11/26/2024   MBD        Correspond with D. Forinash regarding trademark issues           1.50             937.50
                        (.1); attend to correspondence regarding sale hearing
                        (.2); conference with PH team and Trustee team
                        regarding hearing preparations (.5); review documents
                        for production (.2); conference with J. Wolfshohl
                        regarding sale issues (.3); revise draft stipulation and
                        agreed order (.2).

11/26/2024   JWW        Emails regarding discovery and hearing dates (.6);               2.80           2,646.00
                        conference call with Trustee team regarding same (.9);
                        follow-up discussions with M. Dearman regarding
                        hearing preparation and discovery (.3); further emails
                        with counsel regarding discovery and sale objection
                        issues (1.0).

11/26/2024   DVF        Responding to email regarding renewal of INFOWARS                0.50             475.00
                        mark.

11/26/2024   KLS        Teams call with Trustee regarding Sale Motion Hearing.           1.00             575.00

11/26/2024   JTS        Prepare for and attend a strategy session with members           1.00             595.00
                        of the Porter Hedges Team, the Trustee, and E. Jones
                        regarding discovery in connection with the Sale Motion.

11/26/2024   WRS        Participate in discovery strategy call.                          1.00             725.00

11/26/2024   CAS        Receive additional client data from M. Dearman and               0.40             188.00
                        forward same to vendor with instructions for adding to
                        database.

11/27/2024   JWW        Work on PQPR settlement (.9); emails regarding                   4.60           4,347.00
                        discovery before sale hearing and related hearing
                        preparation issues (1.9); conference with J. Tanenbaum
                        regarding deposition and related issues (.6); correspond


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Matter: Alex Jones                                                    Invoice Num.:                      570995
                                                                     Matter Number:                 018577-0001



Date         Initials   Description                                                    Hours           Amount
                        with various parties regarding hearing on sale motion
                        and expedited discovery and review discovery requests
                        (1.2).

11/27/2024   MBD        Multiple correspondence with J. Wolfshohl and K.                3.10           1,937.50
                        Starling regarding hearing (.5); revise draft stipulation
                        and agreed order (.7); multiple correspondence with C.
                        Murray, E. Jones, and J. Wolfshohl regarding same (.3);
                        conference with J. Wolfshohl regarding draft stipulation
                        and agreed order (.2); review notice of hearing (.1);
                        continue draft 9019 motion (.8); review PQPR adversary
                        proceeding pleadings (.5).

11/27/2024   MLW        Email exchanges with K. Starling regarding Notice -             0.40             186.00
                        Motion to Sale (.2); confer with E. Garfias regarding
                        filing same (.1); forward copy of Notice to Court Case
                        Manager (.1).

11/27/2024   KLS        Draft Notice regarding Hybrid Hearing on Trustee's Sale         0.40             230.00
                        Motion.

11/27/2024   EG         Correspondence on filing logistics of notice of hybrid          1.00             405.00
                        hearing (.2); discuss same with M. Webb (.1); receive,
                        review, and electronically file same with court (.2);
                        coordinate service of same (.3); download and circulate
                        filed version (.1); update file (.1).

11/27/2024   CAS        Multiple email communications with vendor regarding             0.60             282.00
                        new client data and organization of saved searches.

11/28/2024   JWW        Emails with Trustee team regarding discovery requests           0.50             472.50
                        and deposition schedule (.3); follow-up regarding open
                        issues related to sale hearing (.2).

11/29/2024   MBD        Conference with Trustee team and PH team regarding              3.10           1,937.50
                        discovery (.6); review correspondence related to sale
                        process (.5); conference with J. Tanenbaum, J.
                        Wolfshohl and E. Jones regarding discovery (.4);
                        correspond with J. Stevens and K. Starling regarding
                        discovery issues (.1); review documents for production
                        (1.3); conference with J. Stevens regarding discovery
                        issues (.2).

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Matter: Alex Jones                                                        Invoice Num.:                       570995
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Date             Initials   Description                                                    Hours            Amount
11/29/2024       JWW        Conference with Trustee team regarding discovery                 2.10           1,984.50
                            responses and depositions (1.0); several emails
                            regarding same (.2); conference with J. Tanenbaum
                            regarding same (.5); follow-up emails regarding
                            document production (.4).

11/29/2024       KLS        Teams call with J. Wolfshohl regarding expedited                 1.90           1,092.50
                            discovery requests from counsel to A. Jones (.4); begin
                            draft witness and exhibit list for hearing regarding
                            Trustee's Sale Motion (.2); review documents from
                            Tranzon360 in preparation of production of documents
                            in response to expedited discovery request from counsel
                            to Debtor A. Jones (1.3).

11/29/2024       JTS        Conduct legal research and analysis in connection with           6.90           4,105.50
                            the discovery related to the Sale Motion (3.1); review
                            and analyze the discovery requests from Alex Jones (.8);
                            prepare for and attend a strategy session with members
                            of the Porter Hedges Team, the Trustee, and E. Jones
                            regarding the discovery relating to the Sale Motion (.7);
                            assist in responding to Alex Jones’s discovery requests,
                            including analyzing documents to be provided in
                            connection therewith (2.3).

11/30/2024       MBD        Numerous correspondence with K. Starling regarding               2.80           1,750.00
                            discovery (.5); review documents for production (2.0);
                            correspond with J. Wolfshohl regarding same (.2);
                            correspond with C. Murray regarding trademark issues
                            (.1).

11/30/2024       JWW        Review documents uploaded and emails regarding                   0.50             472.50
                            production and timing.

11/30/2024       KLS        Continue review of Tranzon360 documents for                      1.50             862.50
                            production in response to request for expedited
                            discovery by counsel to Debtor A. Jones.
Total                                                                                      400.20        $280,799.00

Total Services                                                                                            $280,799.00




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Matter: Alex Jones                                               Invoice Num.:                       570995
                                                                Matter Number:                  018577-0001



Timekeeper Summary

Initials   Name                Timekeeper Title                     Hours           Rate            Amount
DVF        Derek V. Forinash Partner                                  0.50        950.00              475.00
JWW        Joshua W.           Partner                              106.00        945.00          100,170.00
           Wolfshohl
SJR        Sarah J. Ring       Partner                                5.00        925.00            4,625.00
AKN        Adam K. Nalley      Partner                                6.00        900.00            5,400.00
CMM        Christine M.        Partner                                2.10        785.00            1,648.50
           McMillan
MRB        Matthew R.          Partner                                1.80        750.00            1,350.00
           Baughman
WRS        William R.          Partner                               11.80        725.00            8,555.00
           Stukenberg
EJD        Elliott J. Deese    Associate                              7.10        720.00            5,112.00
MBD        Michael B. Dearman Associate                             119.70        625.00           74,812.50
JTS        Jordan T. Stevens   Associate                             70.20        595.00           41,769.00
KLS        Kenesha L. Starling Associate                             43.60        575.00           25,070.00
DP         Daisy Puente        Associate                              2.60        565.00            1,469.00
GVS        Grecia V. Sarda     Associate                              0.10        500.00               50.00
CAS        Carey A. Sakert     Paralegal                              3.00        470.00            1,410.00
MLW        Mitzie L. Webb      Paralegal                              2.20        465.00            1,023.00
MNW        Michelle N. Wolff Associate                               10.50        440.00            4,620.00
EG         Eliana Garfias      Paralegal                              8.00        405.00            3,240.00
Total                                                               400.20                       $280,799.00

Cost Summary
Description                                                                                         Amount
Computer Assisted Legal Research                                                                    4,283.24
Computer Services                                                                                   3,275.17
Delivery Service                                                                                       24.00
Deposition Expense                                                                                    435.00
Reproduction                                                                                          543.45
Reproduction Services                                                                               3,493.71
Total Disbursements                                                                               $12,054.57


Total This Invoice                                                                               $292,853.57




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